      Case 3:15-cv-03449-N Document 1 Filed 10/23/15               Page 1 of 6 PageID 1


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 BRIAN WRIGHT, On Behalf of Himself              §
 and All Others Similarly Situated,              §
                                                 §
                       Plaintiff,                §
                                                 §
 v.                                              §         Civil Action No. 3:15-cv-3449
                                                 §
 REVOLUTION INDUSTRIAL                           §
 SERVICES, LLC and MICHAEL                       §
 JONES, individually                             §
                                                 §
                       Defendants.               §
                                                 §

                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Brian Wright, on behalf of himself and all others similarly situated (“Plaintiff”

and “Class Members” herein) bring this Fair Labor Standards Act (“FLSA”) suit against the above-

named Defendants and show as follows:

                                    I.    NATURE OF SUIT

1.     The FLSA was passed by Congress in 1938 in an attempt to eliminate low wages and long

hours and to correct conditions that were detrimental to the health and well-being of workers. To

achieve its humanitarian goals, the FLSA establishes standards of minimum wages and “limits to

40 a week the number of hours that an employer may employ any of its employees subject to the

Act, unless the employee receives compensation for his employment in excess of 40 hours at a rate

not less that one and one-half times the regular rate at which he is employed.” Brooklyn Sav. Bank

v. O'Neil, 324 U.S. 697, 707 (1945) (discussing the FLSA’s minimum wage and maximum hour

protections generally); Walling v. Helmerich & Payne, 323 U.S. 37, 40 (1944) (discussing the

requirements of 29 U.S.C. § 207 (a)).



PLAINTIFF’S ORIGINAL COMPLAINT                                                    Page - 1
      Case 3:15-cv-03449-N Document 1 Filed 10/23/15                   Page 2 of 6 PageID 2


2.      Defendants violated the FLSA by failing to pay Plaintiff for all hours of work at the rates

required by the FLSA. Instead, Defendants paid Plaintiff and Class Members their regular hourly

rate of pay for overtime hours. Plaintiff brings this action as a collective action pursuant to 2U.S.C.

§ 216(b).

                                          II.     PARTIES

3.      Plaintiff Brian Wright is an individual who has been employed by Defendants within the

meaning of the FLSA. He hereby consents to be a party in this action and his consent form is

attached as “Exhibit A.”

4.      The Plaintiff and “Class Members” are Defendants’ current and former hourly-paid

workers.

5.      Defendant Revolution Industrial Services, LLC (“RIS”) is a corporation that does business

in Texas. RIS can be served with process through its registered agent, Michael Jones wherever he

may be found.

6.      Defendant Michael Jones is an individual who may be served with process wherever he

may be found.

                              III.    JURISDICTION AND VENUE

7.      This Court has jurisdiction over the claim because Plaintiff has asserted a claim arising

under federal law.

8.      Venue is proper in the Northern District of Texas because one or more parties reside in this

District and events that form the basis of this suit occurred in this District.

                                        IV.     COVERAGE

9.      At all material times, Defendants have acted, directly or indirectly, in the interest of an

employer with respect to Plaintiff and the Class Members.



PLAINTIFF’S ORIGINAL COMPLAINT                                                         Page - 2
      Case 3:15-cv-03449-N Document 1 Filed 10/23/15                 Page 3 of 6 PageID 3


10.    At all times hereinafter mentioned, Defendants have been employers within the meaning

of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

11.    At all times hereinafter mentioned, Defendants have been an enterprise within the meaning

of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

12.    At all times hereinafter mentioned, Defendants have been an enterprise engaged in

commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of

the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in commerce

or in the production of goods for commerce, or employees handling, selling, or otherwise working

on goods or materials that have been moved in or produced for commerce by any person and in

that said enterprise has had and has an annual gross volume of sales made or business done of not

less than $500,000 (exclusive of excise taxes at the retail level which are separately stated).

13.    At all times hereinafter mentioned, Plaintiff and Class Members were individual employees

who were engaged in commerce or in the production of goods for commerce as required by 29

U.S.C. §§ 206-207.

                              V.       FACTUAL ALLEGATIONS

14.    Defendants specialize in providing a range of refining and petro chemical support services

to various oilfield installations throughout the state of Texas and do more than $500,000.00 in

business each year.

15.    Plaintiff Brian Wright was employed by Defendants during the three years prior to the

filing of this lawsuit as an hourly-paid non-exempt worker who primarily did manual labor tasks

in and around Defendants’ job-sites.

16.    Plaintiff and the Class Members are Defendants’ other hourly-paid, non-exempt workers.

17.    Plaintiff and the Class Members were not lawfully compensated for all hours worked in

excess of 40 in a workweek at the rates required by the FLSA. More particularly, even though

PLAINTIFF’S ORIGINAL COMPLAINT                                                       Page - 3
      Case 3:15-cv-03449-N Document 1 Filed 10/23/15                Page 4 of 6 PageID 4


Plaintiff regularly worked in excess of 50 hours in a workweek, Defendants would typically only

Plaintiff his regular rate of pay for his excessive hours. Plaintiff and the Class Members routinely

worked in excess of 40 hours per week, but were not paid time-and-one-half their regular rates of

pay for all of their excessive hours.

18.    Defendant Michael Jones is an RIS Director. He was/is responsible for running the day-to-

day activities of the company. He makes decisions about how the company should operate, market

itself, acquire work, hire or fire and pay its employees and vendors, and treat its employees. He

was responsible for designing and/or approving and implementing the pay plans for Plaintiff and

the Class Members that violate the FLSA.

19.    Defendants have employed and are employing other individuals as who perform(ed) the

same or similar job duties under the same pay provision as Plaintiff.

20.    Because Defendants occasionally paid overtime to Plaintiff, they were aware of their

obligation to pay overtime to Plaintiff and the Class Members and failed to do so. Defendants

knowingly, willfully, or with reckless disregard carried out their illegal pattern or practice of

failing to pay all overtime compensation with respect to Plaintiff and the Class Members.

                      VI.     COLLECTIVE ACTION ALLEGATIONS

21.    Plaintiff and the Class Members performed the same or similar job duties as one another

in that they were hourly-paid, non-exempt workers. Further, Plaintiff and the Class Members were

subjected to the same pay provisions and not compensated at time-and-one-half for all hours

worked in excess of 40 hours in a work week. Thus, the Class Members are owed unpaid overtime

for the same reasons as Plaintiff.

22.     Defendants’ failure to compensate employees for hours worked in excess of 40 in a

workweek as required by the FLSA results from a policy or practice of not paying for time at the

rate specified by the FLSA. This policy or practice is/was applicable to Plaintiff and the Class

PLAINTIFF’S ORIGINAL COMPLAINT                                                      Page - 4
      Case 3:15-cv-03449-N Document 1 Filed 10/23/15                  Page 5 of 6 PageID 5


Members. Application of this policy or practice does not depend on the personal circumstances of

the Plaintiff or those joining this lawsuit. Rather, the same policy or practice which resulted in the

non-payment of overtime to Plaintiff applied to all Class Members.

23.     Defendants were aware of its obligation to pay overtime to Plaintiff and the Class Members

and failed to do so. Defendants knowingly, willfully, or with reckless disregard carried out their

illegal pattern or practice of failing to pay overtime compensation with respect to Plaintiff and the

Class Members.

               VII. CAUSE OF ACTION: FAILURE TO PAY WAGES IN
              ACCORDANCE WITH THE FAIR LABOR STANDARDS ACT

24.     During the relevant period, Defendants have violated and are violating the provisions of

Sections 6 and/or 7 of the FLSA, 29 U.S.C. §§ 206, 207, and 215(a)(2), by employing employees

in an enterprise engaged in commerce or in the production of goods for commerce within the

meaning of the FLSA as aforesaid, for workweeks longer than 40 hours without compensating

such employees for their work in excess of forty hours per week at rates no less than one-and-a-

half times the regular rates for which they were employed. Defendants have acted willfully in

failing to pay Plaintiff and the Class Members in accordance with the law.

                                    VIII. RELIEF SOUGHT

25.     WHEREFORE, cause having been shown, Plaintiff prays for judgment against Defendants

as follows:

        a.     For an Order pursuant to Section 16(b) of the FLSA finding Defendants liable for

unpaid back wages due to Plaintiff (and those who may join in the suit) and for liquidated damages

equal in amount to the unpaid compensation found due to Plaintiff (and those who may join the

suit); and




PLAINTIFF’S ORIGINAL COMPLAINT                                                        Page - 5
      Case 3:15-cv-03449-N Document 1 Filed 10/23/15                  Page 6 of 6 PageID 6


        b.     For an Order awarding Plaintiff (and those who may join in the suit) the costs of

this action;

        c.     For an Order awarding Plaintiff (and those who may join in the suit) attorneys’ fees;

and

        d.     For and Order awarding Plaintiff (and those who may join in the suit) pre-judgment

and post-judgment interest at the highest rates allowed by law; and

        e.     For an Order granting such other and further relief as may be necessary and

appropriate.

                                                     Respectfully submitted,



                                                     __/s/ J. Derek Braziel_________________
                                                     J. DEREK BRAZIEL
                                                     Attorney in Charge
                                                     State Bar No. 00793380
                                                     J. FORESTER
                                                     State Bar No. 24087532
                                                     Lee & Braziel, L.L.P.
                                                     1801 N. Lamar Street, Suite 325
                                                     Dallas, Texas 75202
                                                     (214) 749-1400 phone
                                                     (214) 749-1010 fax
                                                     www.overtimelayer.com

                                                     ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S ORIGINAL COMPLAINT                                                      Page - 6
